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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION

 WSOU INVESTMENTS, LLC d/b/a BRAZOS
 LICENSING & DEVELOPMENT,

                   Plaintiff,                          Case No. 6:20-cv-00585-ADA
                    v.
                                                       JURY TRIAL DEMANDED
 GOOGLE LLC,

                   Defendant.



  ORDER GRANTING JOINT MOTION TO EXTEND TIME FOR THE PREVAILING
             PARTY TO SEEK COSTS AND ATTORNEY FEES


         Before the Court is the parties’ Joint Motion to Extend Time for the Prevailing Party to

Seek Costs and Attorney Fees. After consideration of said joint motion, the Court finds that it

should be GRANTED.

         IT IS THEREFORE ORDERED that the deadline for the prevailing party to seek costs and

attorney fees is hereby deferred until thirty (30) days after the expiration of the time allowed for

appeal of the Court’s final judgment, Dkt. 275, or if there is an appeal, until thirty (30) days after

issuance of a mandate by the appellate court.

         SIGNED this ______ day of ______________, 2024.




                                                      ALAN D ALBRIGHT
                                                      UNITED STATES DISTRICT JUDGE




{A07/07713/0106/W1866955.1 }
